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    EXHIBIT 3
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                            Elaine Stevick

 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3
 4    IN RE: ROUNDUP PRODUCTS            )
      LIABILITY LITIGATION               )
 5                                       )   Case No.
                                         )   3:16-md-02741-VC
 6                                       )
      This Document Relates to:          )
 7                                       )   MDL No.     2741
      Stevick v. Monsanto Co.,           )
 8    et al.,                            )
      Case No. 3:16-cv-02341-VC          )
 9                                       )
                                         )
10
11
12                                  - - - -
13                               VIDEOTAPED
14                    DEPOSITION OF ELAINE STEVICK
15
16          Held at the Offices of Litigation Services
17            3510 Unocal Place, Santa Rosa, California
18              Friday, November 9, 2018, 9:24 a.m.
19                                  - - - -
20
21
22
23
24    REPORTED BY:      ELAINA BULDA-JONES, CSR #11720
25

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                                               Page 118                                                     Page 120
 1 weed or plant killing or were you always precise?       recall that happening?
                                                             1
 2     A. Yes, sometimes the roses would get a           2     A. Almost every time that I would use it, you
 3 little -- I would notice that the roses were -- were  3 know, there's a chance that the breeze would come.
 4 dying where they weren't supposed to be. But I        4 That's all I can tell you in terms of odds. I -- I
 5 never killed a rose, I don't think.                   5 can't say I could count ten times or 15 or 20 or 30
 6     Q. Okay. You'd just quickly rinse it off          6 times. When you're using it, it will -- the wind
 7 and --                                                7 blows and it would get -- you would get wet.
 8     A. Yes.                                           8     Q. How much?
 9     Q. Okay. But other than -- how many times         9     A. How much?
10 did that happen?                                     10     Q. Yeah. How much would you get on your
11     A. Six times, I don't know, something very       11 hands?
12 rarely.                                              12     A. Just a -- a spray. You know, it's light.
13     Q. Okay. So you were generally very careful 13 It's a light mist.
14 not to get it where you didn't want it to go?        14     Q. Very light. And then would you wash your
15     A. Correct.                                      15 hands immediately afterwards?
16     Q. Because these are tight spaces we're          16     A. Not immediately.
17 talking about, right?                                17     Q. I mean -- sorry, immediately after you
18     A. It's a tight space and it's a powerful --     18 were done?
19 powerful thing.                                      19     A. When I was done, if it got on me, then I
20     Q. Right. And so over the 25 years maybe six     20 would wash.
21 times you got a little bit on a rose, but it didn't  21     Q. And it didn't get on you every time, did
22 kill the rose. You didn't get enough on it to kill   22 it?
23 it?                                                  23     A. No.
24     A. I don't know in 25 years. It must be more 24         Q. About what percentage of the time would
25 than that. I'm sure it's more than that.             25 you say it got on you?

                                                 Page 119                                                     Page 121
 1    Q. Okay. But right now, sitting here today,            1     A. I would say about 10 to 20 percent of the
 2 your best recollection is about six times?                2 time.
 3    A. If I were to really think about it, I               3     Q. Okay. And when it did, within an hour you
 4 think it would probably be more like 15 times             4 would -- at least within an hour you would wash your
 5 because it's too many years, again.                       5 hands?
 6    Q. Okay.                                               6     A. Yes.
 7    A. I couldn't have been that good.                     7     Q. I'm sorry. At most within an hour you
 8    Q. When you were spraying, did you ever get            8 would wash your hands?
 9 any on yourself?                                          9     A. Yes, if it got on me or if I felt wet. If
10    A. Occasionally, sure.                                10 I felt wet.
11    Q. How would that happen?                             11     Q. And you occasionally wore gloves when you
12    A. Well, either the -- a breeze would come up         12 were doing this?
13 and would blow back. There's -- it's bound to            13     A. Very rarely because it -- you can't.
14 happen, that there's some breeze.                        14 Those garden gloves are so thick you can't
15    Q. And where would it get? Where would it             15 manipulate the sprayer that way.
16 land on you?                                             16     Q. About what percentage of the time did you
17    A. Mostly on my hands.                                17 wear gloves?
18    Q. Okay. But you're aiming down and the               18     A. I would say less than five percent.
19 breeze would come from the earth upwards?                19     Q. Okay. And did you ever get any anywhere
20    A. Well, just the side. You know, sometimes           20 other than your hands?
21 you're -- you're spraying. If I'm using the bigger       21     A. My legs, perhaps. I can remember that,
22 spray, like on the driveway, if the breeze came that     22 that it drifted on to my legs.
23 would come -- that doesn't have to come from the         23     Q. Were you wearing pants?
24 ground. That's just coming across.                       24     A. Very rarely I would wear shorts, but most
25    Q. Okay. And -- okay. How many times do you           25 of the time I would wear long jeans.


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                                          Elaine Stevick
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 1           INSTRUCTIONS TO WITNESS                       1         ACKNOWLEDGMENT OF DEPONENT
 2                                                         2
 3        Please read your deposition over carefully       3
 4 and make any necessary corrections. You should          4
 5 state the reason in the appropriate space on the        5        I,_____________________, do hereby certify
 6 errata sheet for any corrections that are made.         6 that I have read the foregoing pages, and that the
 7        After doing so, please sign the errata           7 same is a correct transcription of the answers given
 8 sheet and date it.                                      8 by me to the questions therein propounded, except
 9        You are signing same subject to the              9 for the corrections or changes in form or substance,
10 changes you have noted on the errata sheet, which      10 if any, noted in the attached Errata Sheet.
11 will be attached to your deposition.                   11
12        It is imperative that you return the            12
13 original errata sheet to the deposing attorney         13      _______________________ _______________
14 within thirty (30) days of receipt of the deposition   14      ELAINE STEVICK          DATE
15 transcript by you. If you fail to do so, the           15
16 deposition transcript may be deemed to be accurate     16
17 and may be used in court.                              17
18                                                        18
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24                                                        24
25                                                        25

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 1             ERRATA SHEET                                1 STATE OF CALIFORNIA )
 2                                                         2 COUNTY OF YOLO        )
 3 PAGE LINE     CHANGE                            3      I, ELAINA BULDA-JONES, a Certified Shorthand
 4 ____ ____ ____________________________________ 4 Reporter of the State of California, duly authorized
 5       REASON:_____________________________      5 to administer oaths pursuant to Section 2025 of the
 6 PAGE LINE CHANGE                                6 California Code of Civil Procedure, do hereby
 7 ____ ____ ____________________________________ 7 certify that
 8       REASON:_____________________________      8              ELAINE STEVICK,
 9 PAGE LINE CHANGE                                9 the witness in the foregoing deposition, was by me
10 ____ ____ ____________________________________ 10 duly sworn to testify the truth, the whole truth and
11       REASON:_____________________________     11 nothing but the truth in the within-entitled cause;
12 PAGE LINE CHANGE                               12 that said testimony of said witness was reported by
13 ____ ____ ____________________________________ 13 me, a disinterested person, and was thereafter
14       REASON:_____________________________     14 transcribed under my direction into typewriting and
15 PAGE LINE CHANGE                               15 is a true and correct transcription of said
16 ____ ____ ____________________________________ 16 proceedings.
17       REASON:_____________________________     17      I further certify that I am not of counsel or
18 PAGE LINE CHANGE                               18 attorney for either or any of the parties in the
19 ____ ____ ____________________________________ 19 foregoing deposition and caption named, nor in any
20       REASON:_____________________________     20 way interested in the outcome of the cause named in
21 PAGE LINE CHANGE                               21 said deposition dated the ______ day of
22 ____ ____ ____________________________________ 22 ____________, 2018.
23       REASON:_____________________________     23
24                                                        24
25                                                        25 ELAINA BULDA-JONES, RPR, CSR 11720


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